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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        Chambers of                                                        101 West Lombard Street
GEORGE L. RUSSELL, III                                                     Baltimore, Maryland 21201
 United States District Judge                                                    410-962-4055

                                          December 11, 2020


MEMORANDUM TO COUNSEL RE:                      Nurse v. Monterey Financial Services, LLC
                                               Civil Action No. GLR-20-3093

Dear Counsel:

     Today the Court convened a teleconference to discuss the schedule in this case. This
memorandum memorializes the agreements reached during the call.

        Plaintiff Shenel Nurse shall notify the Court regarding whether there is unanimous consent to
transfer the case to a United States Magistrate Judge (“USMJ”) for all further proceedings by 5:00
p.m. on Wednesday, December 16, 2020.

        On December 10, 2020, Defendant Monterey Financial Services, LLC (“Monterey”), filed a
Motion to Dismiss and to Compel Arbitration or, in the Alternative, for Judgment on the Pleadings.
(ECF No. 10). During today’s call, Monterey sought a stay of discovery from the Court pending the
resolution of that Motion. Having heard Monterey’s arguments in favor of a stay and Nurse’s
opposition thereto, the Court hereby DENIES Monterey’s request for a stay of discovery.

        The parties do not request any changes to the Court’s Scheduling Order (ECF No. 7-1). The
parties will not defer expert discovery until after dispositive motions are resolved. The parties further
agree that the currently allocated fifteen deposition hours per side for fact witnesses are sufficient.

       The Court will refer this case to a USMJ for a mediation to be scheduled no earlier than April
12, 2021. The parties shall submit a joint status report within seven days of the mediation informing
the Court of whether the mediation was successful. If the mediation is successful, the parties shall
submit a notice of dismissal. If the mediation is not successful, the parties shall submit a joint status
report within seven days of the mediation again answering the seven points and including a joint
proposed scheduling order.

       Despite the informal nature of this memorandum, it shall constitute an order of this Court, and
the Clerk is directed to docket it accordingly.

                                               Very truly yours,

                                                         /s/
                                               George L. Russell, III
                                               United States District Judge
